             Case 2:19-cv-01987-RSM Document 260 Filed 11/03/22 Page 1 of 2




1                                                                    The Honorable Ricardo S. Martinez
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                                     UNITED STATES DISTRICT COURT
8                                   WESTERN DISTRICT OF WASHINGTON
                                           SEATTLE DIVISION
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10         RUSSELL H. DAWSON, et al.,                                NO: 2:19-cv-01987-RSM

11                       Plaintiffs,                                 ORDER EXTENDING FILING
               v.                                                    DEADLINE FOR ANNUAL
12
                                                                     TRUST ACCOUNTINGS
13         SOUTH CORRECTIONAL ENTITY
           (“SCORE”), et al.,                                        NOTE ON MOTION CALENDAR:
                                                                     NOVEMBER 1, 2022
14
                         Defendants.
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16            THIS MATTER having come on regularly before the undersigned Judge of the above-

17   entitled Court upon the Motion to Extend Filing Deadline for Annual Trust Accountings, filed

18   by Lifetime Advocacy Plus, Trustee for the Abigail Gil Trust, David Gil Trust, Isaac Gil

19   Trust, and Sara Gil Trust (“Gil Children’s Trusts”), and the Court having reviewed the

20   Motion, files and pleadings herein, and being full advised in the premises, Now, Therefore, It

21   Is Hereby ORDERED:

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                                                                                 AIKEN, ST. LOUIS & SILJEG, P.S.
     ORDER EXTENDING FILING                                                              ATTORNEYS AT LAW
     ANNUAL TRUST ACCOUNTINGS - 1                                                      801 SECOND AVENUE
                                                                                            SUITE 1200
     NO: 2:19-cv-01987-RSM                                                          SEATTLE, WASHINGTON 98104
     (laplus.028-031); 6885-0) Order Extending Filing Deadline.doc               (206) 624-2650/FAX (206) 623-5764
            Case 2:19-cv-01987-RSM Document 260 Filed 11/03/22 Page 2 of 2




              1.       The date by which the Trustee shall file the first annual Trust accountings for
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     the period from October 19, 2021 through September 30, 2022 is hereby extended to January
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     30, 2023.
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              DATED this 3rd day of November, 2022.
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                                                                     A
                                                                     RICARDO S. MARTINEZ
8                                                                    UNITED STATES DISTRICT JUDGE

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12   Presented by:

13   AIKEN, ST. LOUIS & SILJEG, P.S.

14
     By /s/ Richard L. Furman Jr.
15      Richard L. Furman Jr., WSBA No. 31101
        Attorneys for the Trustee
16       furman@aiken.com
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                                                                                AIKEN, ST. LOUIS & SILJEG, P.S.
     ORDER EXTENDING FILING                                                              ATTORNEYS AT LAW
     ANNUAL TRUST ACCOUNTINGS - 2                                                      801 SECOND AVENUE
                                                                                            SUITE 1200
     NO: 2:19-cv-01987-RSM                                                          SEATTLE, WASHINGTON 98104
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